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 5                                                         CLERK U.S. BANKRUPTCY COURT
                                                           Central District of California
                                                           BY handy      DEPUTY CLERK
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 8                      UNITED STATES BANKRUPTCY COURT

 9                       CENTRAL DISTRICT OF CALIFORNIA

10                               NORTHERN DIVISION

11
     In re:                                   Case No.: 9:19-bk-11573-MB
12

13 HVI CAT CANYON, INC.,                      Chapter 11

14                 Debtor.                    SCHEDULING ORDER FOLLOWING
                                              CHAPTER 11 STATUS CONFERENCE
15
                                                    Status Conference
16                                            Date: September 23, 2019
17                                            Time: 10:00 a.m.
                                              Ctrm: 303
18                                                  21041 Burbank Boulevard
                                                    Woodland Hills, California
19
                                                     Hearings
20                                            Date: October 3, 2019
21                                            Time: 10:00 a.m.
                                              Ctrm: 201
22                                                  1415 State Street
                                                    Santa Barbara, California
23
                                                     Hearings
24
                                              Date: October 28, 2019
25                                            Time: 10:00 a.m.
                                              Ctrm: 201
26                                                  1415 State Street
                                                    Santa Barbara, California
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 1         On September 23, 2019 at 10:00 a.m. the Court conducted a status conference in this

 2 chapter 11 bankruptcy case regarding debtor and debtor in possession HVI Cat Canyon, Inc. (the

 3 “Debtor”). Appearances were as noted in the record. At that time the Court set the following

 4 hearings and deadlines:

 5         1. Motion to Approve Use of Cash Collateral (Case Dkt. 11, the “Cash Collateral

 6             Motion”), Motion to Allow Debtor to Surcharge Collateral Pursuant to 11 U.S.C. §§

 7             506(c) and 552(b) (Case Dkt. 55, the “Surcharge Motion”) and Secured Creditor

 8             UBS AG, London Branch's Motion in Limine To Preclude 2016 Netherland Sewell

 9             Reserve Report at Cash-Collateral Hearing (Case Dkt. 83, the “Motion in Limine”).

10             a. The Court will hold a hearing on October 3, 2019 at 10:00 a.m. on the Cash

11                Collateral Motion, the Surcharge Motion and the Motion in Limine in Courtroom

12                201 in the United States Bankruptcy Court, 1415 State Street, Santa Barbara,

13                California 93101.

14             b. The hearing will be an evidentiary hearing and all parties must make their declarants

15                available for cross-examination. The Court will strike the declarations of any

16                declarants who fail to appear. The only oral testimony that may be offered at the

17                hearing by a party through its own witnesses will be strictly limited to proper

18                rebuttal testimony or testimony offered for impeachment purposes only.

19             c. No later than September 27, 2019 at noon, Pacific Time, the County of Santa

20                Barbara, California, Harry E. Hagen, as Treasurer-Tax Collector of the County of

21                Santa Barbara, California, Santa Barbara Air Pollution Control District (collectively,

22                the “SB Authorities”) may file evidence in support of their previously filed

23                Responses to the Cash Collateral and Surcharge Motions (Case Dkt. 153 and 206)

24                on the issue of the amount and priority of their claims and the adequacy of the

25                proposed budget. The SB Authorities may not supplement the record with evidence

26                showing that the Debtor’s principal secured lenders are adequately protected. The

27                SB Authorities shall serve counsel for the Debtor, counsel for Official Committee of

28                Unsecured Creditors (the “OCC”), Brian D. Fittipaldi for the Office of the United
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 1             States Trustee and counsel for any party who filed a response to the Cash Collateral

 2             Motion, the Surcharge Motion or the Motion in Limine, by Notice of Electronic

 3             Filing (“NEF”) or overnight mail so that is received by noon, Pacific Time, on

 4             September 30, 2019.

 5          d. No later than September 27, 2019 at noon, Pacific Time, Buganko, L.P.

 6             (“Buganko”) may file evidence in support of its previously filed Objection to the

 7             Cash Collateral Motion (Case Dkt. 155). Buganko shall serve counsel for the

 8             Debtor, counsel for the OCC, Brian D. Fittipaldi for the Office of the United States

 9             Trustee and counsel for any party who filed a response to the Cash Collateral

10             Motion, the Surcharge Motion or the Motion in Limine by NEF or overnight mail so

11             that is received by noon, Pacific Time, on September 30, 2019.

12          e. All evidentiary objections must be in writing and must comply with Local

13             Bankruptcy Rule 9013-1(i)(2). Objections to evidence offered in connection with

14             the Cash Collateral Motion, the Surcharge Motion or the Motion in Limine shall be

15             filed no later than September 27, 2019 at noon, Pacific Time and shall be served

16             on the party offering the evidence by NEF or overnight mail so that is received by

17             noon, Pacific Time, on September 30, 2019. Any objections to the evidence to be

18             filed by the SB Authorities and / or Buganko shall be filed no later than October 1,

19             2019 at noon, Pacific Time and served on the SB Authorities or Buganko by NEF

20             or overnight mail so that it is received by October 2, 2019.

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22       2. Motion for Approval of Adequate Assurance of Payment to Utility Services and

23          Continuation of Service (Case Dkt. 13) as amended (Case Dkt. 72, collectively, the

24          “Utilities Motion”).

25          a. The Court will hold a hearing on October 3, 2019 at 10:00 a.m., Pacific Time, on

26             the Utilities Motion with respect to Pacific Gas & Electric (“PG&E”) in Courtroom

27             201 in the United States Bankruptcy Court, 1415 State Street, Santa Barbara,

28             California 93101.
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 1          b. The Debtor may file evidence in support of its Utilities Motion no later than

 2              September 27, 2019 at noon, Pacific Time. The Debtor shall serve PG&E by NEF

 3              or overnight mail so that is received by noon, Pacific Time, on September 30, 2019.

 4          c. PG&E may file evidence in support of its previously filed Objection and in response

 5              to any evidence offered by the Debtor no later than October 1, 2019 at noon,

 6              Pacific Time and shall serve counsel for the Debtor by NEF or overnight mail so

 7              that it is received by October 2, 2019.

 8          d. The hearing on the Utilities Motion will not be an evidentiary hearing. Counsel for

 9              PG&E may appear telephonically.

10

11       3. Motion to Authorize (a) Payment of Pre-Petition Wages, Salaries, Employee Benefits,

12          and other Compensation, (b) Maintenance of Employee Benefit Programs and

13          Payment of Related Administrative Obligations, and (c) Payment of Pre-Petition

14          Claims of Independent Contractors and (ii) Directing Financial Institutions to Honor

15          and Process Checks and Transfers Related to Such Obligations (Case Dkt. 15, the

16          “Wages Motion”).

17          a. The Court will hold a hearing on October 3, 2019 at 10:00 a.m. on the Wages

18              Motion in Courtroom 201 in the United States Bankruptcy Court, 1415 State Street,

19              Santa Barbara, California 93101.

20          b. The Office of the United States Trustee may file a response to the Wages Motion no

21              later than September 27, 2019 at noon, Pacific Time.

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 1       4. Motion to Authorize (a) Use of Continued Existing Cash Management System,

 2          (b) Honor Certain Pre-Petition Obligations Related Thereto, and (c) Maintain

 3          Business Forms and Existing Bank Accounts and (ii) Related Relief (Case Dkt. 16,

 4          the “Cash Management Motion”).

 5          a. No later than September 27, 2019 at noon, Pacific Time, the Debtor shall file and

 6             serve its amendments to the Cash Management Motion and written notice of the

 7             hearing thereon serve such amendments on counsel for the OCC, Brian D. Fittipaldi

 8             for the Office of the United States Trustee and counsel for those parties identified on

 9             the “Core Service List” as defined in the Order Establishing Notice and Service

10             Procedures entered on August 13, 2019 at case docket 39 (counsel for the OCC, Mr.

11             Fittipaldi and counsel for the Core Service list are referred to below as the “Notice

12             Parties”) by NEF, email or overnight mail so that they are received by noon, Pacific

13             Time, on September 30, 2019.

14          b. The Court will hold a hearing on October 3, 2019 at 10:00 a.m. on the amended

15             Cash Management Motion in Courtroom 201 in the United States Bankruptcy Court,

16             1415 State Street, Santa Barbara, California 93101.

17          c. Any objections to the amended Cash Management Motion shall be filed no later

18             than October 1, 2019 at noon, Pacific Time and served on counsel for the Debtor

19             by NEF or overnight mail so that it is received by October 2, 2019.

20

21       5. Diamond McCarthy, LLP’s Motion for Relief from Stay Pursuant to 11 U.S.C. 362(d)

22          (Case Dkt. 41, the “RFS Motion”).

23          a. The Court will hold a hearing on October 3, 2019 at 10:00 a.m. on the RFS Motion

24             in Courtroom 201 in the United States Bankruptcy Court, 1415 State Street, Santa

25             Barbara, California 93101.

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 1       6. Weltman & Moskowitz, LLP’s Motion to Withdraw as Attorneys for Debtor (Case

 2          Dkt. 172, the “Withdrawal Motion”).

 3          a. The Court will hold a hearing on October 3, 2019 at 10:00 a.m. on the Withdrawal

 4             Motion in Courtroom 201 in the United States Bankruptcy Court, 1415 State Street,

 5             Santa Barbara, California 93101.

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 7       7. Motion to Authorize (i) Payment of E&P Operating Expenses and (ii) Directing

 8          Financial Institutions to Honor and Process Checks and Transfers Related to Such

 9          Obligations (Case Dkt. 12, the “E&P Expense Motion”).

10          a. The Court will hold a hearing on October 28, 2019 at 10:00 a.m. on the E&P

11             Expense Motion in Courtroom 201 in the United States Bankruptcy Court, 1415

12             State Street, Santa Barbara, California 93101. All responses to the Motion, and all

13             replies in support of the Motion, shall be governed by Local Bankruptcy

14             Rule 9013-1.

15          b. The Debtor shall file evidence in support of the E&P Expense Motion and written

16             notice of the hearing and of the deadline for opposition or responses to the Motion

17             no later than October 7, 2019. The Debtor shall serve such written notice, evidence,

18             the entire E&P Expense Motion on the Notice Parties by NEF, email or first class

19             mail.

20

21       8. Application for Entry of an Order Authorizing Employment and Retention of

22          Cappello Global, LLC and Camden Financial Services (d/b/a Cappello Global) as

23          Financial Advisors to the Debtor (Case Dkt. 100, the “Application to Employ”).

24          a. The Court will hold a hearing on October 28, 2019 at 10:00 a.m. on the

25             Application to Employ in Courtroom 201 in the United States Bankruptcy Court,

26             1415 State Street, Santa Barbara, California 93101. All responses to the

27             Application, and all replies in support of the Motion, shall be governed by Local

28             Bankruptcy Rule 9013-1.
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 1             b. The Debtor shall file evidence in support of the Application to Employ and written

 2                 notice of the hearing and of the deadline for opposition or responses to the Motion

 3                 no later than October 7, 2019. The Debtor shall serve such written notice, evidence,

 4                 the entire E&P Expense Motion on the Notice Parties by NEF, email or first class

 5                 mail.

 6         The Debtor shall serve this Scheduling Order on the Notice Parties by NEF, email or

 7 overnight mail so that it is received on September 25, 2019.

 8         At the October 3, 2019 hearings, counsel for the Debtor, counsel for the OCC and parties in

 9 interest should be prepared to address when the Court should set a general bar date for filing proofs

10 of claims and proofs of interests.

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23   Date: September 24, 2019
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                                SCHEDULING ORDER FOLLOWING CHAPTER 11 STATUS CONFERENCE
